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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

  ANTONIA RODRIGUEZ and                         §
  DANNY RODRIGUEZ,                              §
                                                §
          Plaintiffs,                           §
                                                §
  v.                                            §          Civil Action No. 4:22-cv-506-ALM
                                                §
  LEHMAN XS TRUST MORTGAGE                      §
  PASS-THROUGH CERTIFICATES,                    §
  SERIES 2006-19, U.S. BANK                     §
  NATIONAL ASSOCIATION, AS                      §
  TRUSTEE, SUCCESSOR IN INTEREST                §
  TO WILMINGTON TRUST                           §
  COMPANY, AS TRUSTEE,                          §
  SUCCESSOR IN INTEREST TO BANK                 §
  OF AMERICA NATIONAL                           §
  ASSOCIATION, AS TRUSTEE,                      §
  SUCCESSOR BY MERGER TO                        §
  LASALLE BANK NATIONAL                         §
  ASSOCIATION, AS TRUSTEE, and                  §
  NATIONSTAR MORTGAGE LLC                       §
  D/B/A MR. COOPER,                             §
                                                §
          Defendants.                           §

                            DEFENDANTS’ OBJECTION TO
                     MAGISTRATE’S REPORT AND RECOMMENDATION

         Defendants Lehman XS Trust Mortgage Pass-Through Certificates Series 2006-19, U.S.

 Bank National Association, as Trustee, Successor in Interest to Wilmington Trust Company, as

 Trustee, Successor in Interest to Bank of America National Association, as Trustee, Successor by

 Merger to LaSalle Bank National Association, as Trustee (“U.S. Bank”) and Nationstar Mortgage,

 LLC d/b/a Mr. Cooper (“Mr. Cooper”) (collectively “Defendants”) file this Objection to the

 portion of the Magistrate’s Report and Recommendation [Doc. 49] recommending dismissal with




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 prejudice of Defendants’ counterclaims with prejudice based upon res judicata. In support thereof,

 Defendants would respectfully show unto the Court as follows:

                                                I. SUMMARY

         1.       On March 14, 2024, the United States Magistrate issued her Report and

 Recommendation, recommending dismissal with prejudice of all of Defendants’ counterclaims.

 See Doc. 49 at P. 13. The Magistrate reasoned that for the same reasons that Plaintiffs’ claims are

 barred by res judicata, so too are Defendants’ counterclaims for breach of contract for non-judicial

 foreclosure, judicial foreclosure and equitable subrogation. Id. However, this conclusion is

 opposite of Texas law for the reasons stated below:

                  a.      Defendants’ prior home equity foreclosure order was entered at the end of

                          an expedited Tex. R. Civ. P. 736 proceeding. An order granting or denying

                          a home equity foreclosure order initiated under Rule 736 has no preclusive

                          effect and does not operate as a bar to further home equity order or to a

                          judicial proceeding for foreclosure. See Tex. R. Civ. P. 736.9.; also see

                          Burciaga v. Deutsche Bank Nat'l Trust Co., 871 F.3d 380, 383 (5th Cir.

                          2017) (quoting Tex. R. Civ. P. 736.9);

                  b.      Even if the expedited Rule 736 foreclosure order precludes Defendants

                          seeking new judgment for foreclosure (it does not), Plaintiffs’ filing of this

                          lawsuit operated to vacate that prior home equity foreclosure order. See Tex.

                          R. Civ. P. 736.11; also see Wells Fargo Bank, N.A. v. Murphy, 458 S.W.3d

                          912, 914 (Tex. 2015);

                  c.      Finally, to the extent the Court looks solely to the prior litigation and holds

                          that the foreclosure claim was compulsory in that matter, a foreclosure



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                          cause of action is not a compulsory counterclaim. Kaspar v. Keller, 466

                          S.W.2d 326, 327-29 (Tex. Civ. App.—Waco 1971).

                                             II.
                                  ARGUMENT AND AUTHORITIES

         2.       While Defendants agree with the majority of the Magistrate’s findings, Defendants

 respectfully disagree that res judicata bars Defendants’ foreclosure-based counterclaims. See Doc.

 49 at P. 12-13. Central to the analysis of the claims is the Magistrate’s reasoning is that having

 brought this claim previously and obtained a home equity foreclosure order, Defendants are free

 to move forward with foreclosure under its prior order. See Doc. 49 at P. 13. However, as the prior

 order was an expedited order under Rule 736, the order does not bar Defendants’ claims, nor are

 foreclosure claims compulsory counterclaims.

         3.       In recommending dismissal of all of Defendants’ counterclaims, the Court reasoned

 that as the counterclaims were based upon the same nucleolus of operative facts as Plaintiffs’ prior

 state court lawsuit, Defendants could have brought their breach of contract claims in the state court

 suit. See Doc. 49 at P. 12. Continuing, the Court reasoned that as the issues before the court were

 previously decided (and affirmed) by a court of competent jurisdiction, the state court’s lawsuit

 operatives with preclusive effect on this suit and the claims herein. Id. The Court went on to find

 that, “the state court’s decision should stand, and Defendants should be permitted to proceed with

 foreclosure pursuant to the state court’s foreclosure order.” See Doc. 49 at P. 13.

         4.       However, there is a distinction overlooked by the Court in its analysis, that being

 that the Plaintiffs’ prior state court lawsuit and the suit wherein the home equity foreclosure order

 was obtained were not one in the same. A foreclosure order from an expedited 736 proceeding has

 no preclusive effect and is in fact vacated by the filing of a separate independent lawsuit after its

 entry. Tex. R. Civ. P. 736.9 and 736.11. The relevant history and background are as follows:


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                  a. On March 27, 2015, U.S. Bank obtained its first Home Equity Foreclosure

                      Order in an expedited Rule 736 proceedings in Cause No. 429-00150-2015;

                  b. In order to stop the foreclosure under that Home Equity Foreclosure Order,

                      Plaintiffs filed suit against Defendants on June 1, 2015 in Cause No. 429-

                      02140-2015. Plaintiffs’ claims in that suit were dismissed with prejudice and

                      the dismissal was affirmed by the Court of Appeals for the Fifth District of

                      Texas at Dallas, Rodriguez v. Nationstar Mort., LLC, No. 05-16-01399-CV,

                      2018 WL 2926808 (Tex. App.–Dallas, June 7, 2018, no. pet.). See Defendants’

                      Motion for Summary Judgment at Exhibit B, Doc. 25-3;

                  c. As the prior foreclosure order was vacated by Rule 736.11, U.S. Bank then filed

                      and obtained another Home Equity Foreclosure Order on January 6, 2020 in

                      expedited Rule 736 proceedings in Cause No. 429-05975-2019; See

                      Defendants’ Motion for Summary Judgment at Exhibit C, Doc. 25-3.

 A.      Rule 736 Home Equity Foreclosure Order Has No Preclusive Effect.

         5.       First, the Court’s analysis is incorrect in finding that the Home Equity Foreclosure

 Order bars its counterclaims, because a foreclosure order is a Rule 736 proceeding that has no

 preclusive effect. See Doc. 49 at P. 13-14. Tex. R. Civ. P. 736.9. The prior expedited proceedings

 for foreclosure were clearly brought by U.S. Bank under Texas Rule of Civil Procedure 736. An

 order obtained in a Rule 736 proceeding is not a judgment, and the grant or denial of the application

 is not subject to a motion for rehearing, a motion for new trial, a bill of review, or an appeal. Tex.

 R. Civ. P. 736.8(c). An order granting or denying a home equity foreclosure order initiated under

 Rule 736 has no preclusive effect and does not operate as a bar to further home equity order or to




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 a judicial proceeding for foreclosure. See Tex. R. Civ. P. 736.9.; also see Burciaga, 871 F.3d at

 383 (quoting Tex. R. Civ. P. 736.9).

         6.       Texas Rule 736.9 states, “An order is without prejudice and has no res judicata,

 collateral estoppel, estoppel by judgment, or other effect in any other judicial proceeding.” The

 foreclosure order obtained by U.S. Bank does not preclude it seeking a new order or judgment and

 therefore Defendants’ counterclaims are not barred by res judicata.

 B.      Plaintiffs’ Filing Suit Stayed and Vacated Prior Home Equity Foreclosure Order.

         7.       Further, U.S. Bank is, in reality, precluded from proceeding with foreclosure under

 the prior home equity foreclosure order from 2020 because Plaintiffs filed this suit. Rule 736

 specifies that if a party files an independent suit challenging a Rule 736 foreclosure order before

 5:00 p.m. on the Monday before the scheduled foreclosure sale, the Rule 736 proceeding or order

 is automatically stayed. Id. at 736.11(a). Once the Rule 736 court is notified that an independent

 suit has been filed challenging the Foreclosure Order, the court is required to dismiss the Rule 736

 proceeding or vacate the foreclosure order. Id. at 736.11(c).

         8.       The filing of this suit by Plaintiffs stayed the enforcement of that prior Home Equity

 Foreclosure Order. Because the Plaintiffs’ loan is a Texas Home Equity Loan, U.S. Bank is

 required to obtain a Court order to foreclose. Texas Constitution Art. XVI § 50(a)(6)(D), Tex. R.

 Civ. P. 735.1(a). However, Defendants are not limited to Rule 736 in order to obtain that

 foreclosure order. As stated by the Texas Rules, “A Rule 736 order is not a substitute for a

 judgment for judicial foreclosure, but any loan agreement, contract, or lien that may be foreclosed

 using Rule 736 procedures may also be foreclosed by judgment in an action for judicial

 foreclosure.” Tex. R. Civ. P. 735.3. Therefore, Defendants had the option to elect to file yet another

 Rule 736 expedited proceeding after resolution of this suit – which could have been once again



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 vacated by the filing of a separate independent suit to contest that expedited foreclosure order,

 however frivolous. Not wanting to risk Plaintiffs utilizing the tools provided by Rule 736.11,

 Defendants chose to proceed with counterclaims in this proceeding. Res judicata does not bar

 Defendants from its election to file suit for breach of contract allowing non-judicial foreclosure or

 for judicial foreclosure. Burciaga at 383.

         9.       The Plaintiffs’ filing of this suit automatically stayed Defendants’ ability to proceed

 with execution of that Home Equity Foreclosure order. Tex. R. Civ. P. 736.11. Texas Rule of Civil

 Procedure 736.11(a), provides that a foreclosure proceeding is “automatically stayed if a [payor

 under the loan] files a separate, original proceeding in a court of competent jurisdiction that puts

 in issue any matter related to the origination, servicing, or enforcement of the loan agreement,

 contract, or lien sought to be foreclosed ...”. Murphy, 458 S.W.3d at 914; also see Morse v. Ditech

 Financial, 2017 WL 7051072 (E.D. Tex. Aug. 10, 2017); McBee v. Wells Fargo Bank, N.A., 2021

 WL 8082643 (W.D. Tex., Aug. 2, 2021); Deutsche Bank Nat’l Trust Co. v. Castrellon, 852

 Fed.Appx. 841, 843 (5th Cir. 2021)(stating, “This litigation course effectively blocked the Bank

 from exercising foreclosure for the duration of that dispute. See Tex. R. Civ. P. 736.11(d) (“If the

 automatic stay under this rule is in effect, any foreclosure sale of the property is void.”)).

         10.      It is clear that U.S. Bank or any Defendant, could not and cannot proceed with the

 prior Home Equity Foreclosure Order from the Rule 736 expedited foreclosure proceedings. Tex.

 R. Civ. P. 736.11; Murphy at 914. As that Order is not enforceable, and has no preclusive effect,

 Defendants are not barred by res judicata for seeking their foreclosure counterclaims.

 C.      Foreclosure Claims are Not Compulsory Counterclaims.

         11.      In recommending dismissal with prejudice of the counterclaims, the Court reasoned

 that given the application of res judicata to Plaintiffs’ claims, the same would thus apply to



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 Defendants’ foreclosure counterclaim. See Doc. 49 at P. 13. Holding that they are barred by res

 judicata. However, this is squarely contrary to Texas law as a Rule 736 order has no preclusive

 effect, the prior order is now stayed and because foreclosure claims are not compulsory

 counterclaims. See U.S. Bank Nat’l Assoc. v. Lamell, No. 19-cv-2402, 2021 WL 954848 * 12, n.

 5 (S.D. Tex. Jan. 18, 2021) citing Casterline v. OneWest Bank, FSB, Number 13-17-00118-CV,

 2018 WL 1755821, at *5 (Tex. App.––Corpus Christi-Edinburg, Apr. 12, 2018) (discussing

 Kaspar, 466 S.W.2d at 327-29); see also Steptoe v. JPMorgan Chase Bank, N.A., 464 S.W.3d 429

 (Tex. App.–Houston [1st Dist.] 2015). Defendants were not required to bring foreclosure claims

 as a counterclaim in Plaintiffs first lawsuit and therefore, Defendants’ counterclaims in this suit

 are not barred by res judicata.

         12.      While typically, a party is required to bring a compulsory counterclaim within an

 initial lawsuit or risk having the claim barred in the future, the Kaspar rule (a Texas law doctrine)

 is an exception to the compulsory counterclaim rule that applies to secured transactions. See,

 Kaspar, 466 S.W.2d at 329. The Fifth Circuit has found that the Kaspar rule does in fact create an

 exception to compulsory counterclaims in secured transactions. Douglass v. NCNB Tex. Nat’l

 Bank, 979 F.2d 1128, 1130 (5th Cir. 1992) (citing Kaspar, 466 S.W.2d at 329).

         13.      When the security instrument in a home-equity loan contains a power of sale

 provision, the lender has a choice of remedies – meaning that a lender can seek either expedited

 order of foreclosure through Rule 736 proceeding, or alternatively seek the remedy of judicial

 foreclosure. See, Steptoe, 464 S.W.3d at 429; Huston v. U.S. Bank Nat'l Ass'n, 988 F.Supp.2d 732,

 740 (S.D. Tex. 2013) (mortgagee was not required to assert a counterclaim in prior suit in order to

 preserve its foreclosure rights); Douglass, 979 F.2d at 1130; see also Soin v. JPMorgan Chase




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 Bank, N.A., No. H–14–1861, 2014 WL 4386003, at *3 (S.D. Tex. Sept. 14, 2104) (mortgagee was

 not required to seek enforcement of the Security Agreement as a compulsory counterclaim”).

         14.      Applying the Kaspar rule herein, Defendants were not required to file

 counterclaims for foreclosure in the prior lawsuit and its counterclaims herein are not barred by

 res judicata as there were not in fact compulsory in the first lawsuit.


                                                CONCLUSION

         Pursuant to the reasons set out herein, Defendants Lehman XS Trust Mortgage Pass-

 Through Certificates Series 2006-19, U.S. Bank National Association, as Trustee, Successor in

 Interest to Wilmington Trust Company, as Trustee, Successor in Interest to Bank of America

 National Association, as Trustee, Successor by Merger to LaSalle Bank National Association, as

 Trustee and Nationstar Mortgage, LLC d/b/a Mr. Cooper, respectfully request that the Court

 reconsider its ruling as to Defendants’ counterclaims and grant summary judgment for Defendants,

 along with any and all additional relief, whether at law or in equity, to which they may be justly

 entitled.

                                                  Respectfully submitted,

                                                  By:    /s/ Shelley L. Hopkins
                                                         Shelley L. Hopkins
                                                         State Bar No. 24036497
                                                         HOPKINS LAW, PLLC
                                                         2802 Flintrock Trace, Suite B103
                                                         Austin, Texas 78738
                                                         (512) 600-4320
                                                         BARRETT DAFFIN FRAPPIER
                                                         TURNER & ENGEL, LLP - Of Counsel
                                                         ShelleyH@bdfgroup.com
                                                         shelley@hopkinslawtexas.com

                                                         Robert D. Forster, II
                                                         State Bar No. 24048470
                                                         BARRETT DAFFIN FRAPPIER
                                                         TURNER & ENGEL, LLP

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                                                     4004 Belt Line Road, Ste. 100
                                                     Addison, Texas 75001
                                                     (972) 386-5040
                                                     RobertFO@bdfgroup.com
                                                     ATTORNEYS FOR DEFENDANT

                                     CERTIFICATE OF SERVICE

         I hereby certify that on the 28th day of March 2024, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy
 to the following:

 VIA EMAIL AND VIA REGULAR MAIL:
 Danny Rodriguez
 Antonia Rodriguez
 2904 White Oak
 Plano, Texas 75074
 rod2748@yahoo.com
 PRO SE PLAINTIFFS
                                                     /s/ Shelley L. Hopkins
                                                     Shelley L. Hopkins




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